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                    ATTACHMENT
                              A
                  Redacted Docket Materials
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                                    STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR FOUR EMAIL                     SC No. 20-89
 ACCOUNT(S) SERVICED BY
 MICROSOFT FOR INVESTIGATION OF                   Filed Under Seal
 VIOLATION OF 18 U.S.C. 1956

Re erence:     USAO Re                             Sub'ect Account(s):
                                                           ; and


                   AMENDED APPLICATION OF THE            STATES
                    FOR AN ORDER PURSUANT TO 18 U.S.C. § 2703(d)

       The          States of America, moving by and through its undersigned counsel, respectfully

submits under seal this ex parte application for an Order pursuant to 18 U.S.C. § 2703(d). The

proposed Order would require Microsoft Corporation ("PROVIDER"), an electronic

communication service and/or remote computing service provider located in Redmond,

Washington, to disclose certain records and other information pertaining to the PROVIDER

account(s)     associated      with

                             and                                     as set forth in Part I of

Attachment A to the proposed Order, within ten days of receipt of the Order. The records and

other information to be disclosed are described in Part II of Attachment A to the proposed Order.

In support of this application, the      States asserts:

                       LEGAL BACKGROUND AND JURISDICTION

       1.       PROVIDER is a provider of an electronic communication service, as defined in 18

U.S.C. § 2510(15), and/or a remote computing service, as defined in 18 U.S.C. § 2711(2).

Accordingly, the            States may use a court order issued under § 2703(d) to require

PROVIDER to disclose the items described in Part II of Attachment A. See 18 U.S.C. § 2703(c)(2)
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(Part ILA of Attachment A); 18 U.S.C. § 2703(c)(1) (Part II.B of Attachment A).

       2.      This Court has jurisdiction to issue the requested Order because it is "a court of

competent jurisdiction" as defined by 18 U.S.C. § 2711. 18 U.S.C. §§ 2703(d). Specifically, the

Court is a "district court of the          States . . . that — has jurisdiction over the offense being

investigated." 18 U.S.C. § 2711(3)(A)(i).

       3.      As discussed more fully below, acts or omissions in furtherance of the offenses

under investigation occurred within Washington, DC. See 18 U.S.C. § 3237.

       4.      A court order under section 2703(d) "shall issue only if the governmental entity

offers specific and articulable facts showing that there are reasonable grounds to believe that . . .

the records or other information sought . . . are relevant and material to an ongoing criminal

investigation." 18 U.S.C. § 2703(d). Accordingly, the next section of this application sets forth

specific and articulable facts showing that there are reasonable grounds to believe that the records

and other information described in Part II of Attachment A are relevant and material to an ongoing

criminal investigation.

                                      RELEVANT FACTS

       5.      The          States is investigating the illicit transfer of        petroleum to third

party countries in violation against sanctions against ■,     and the payment of these shipments in

U.S. dollars, which would require a license from the Department of Treasury Office of Foreign

Assets Control (OFAC), which is located in the District of Columbia. The investigation concerns

possible violations of 18 U.S.C. § 1956.

       6.      Law enforcement is aware that a            company ("          Company 1") operates a

fleet of tankers. Several of their tankers have shipped petroleum to and from ■         and received

corresponding U.S. dollar payments.        One of these tankers is the



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                Law enforcement tracked this tanker's movements using its Automatic Identification

System ("AIS")1, and confirmed that it had travelled to ■       on multiple occasions between 2016

and 2017. Subpoena returns revealed U.S. dollar payments that referenced the =.           The parties

failed to seek or obtain a license from the Treasury Department, which is located in Washington,

D.C., for these payments.

         7.        The managing director of        Company 1 confirmed to a news publication that

the            was sold to an '                                                      on or about

        Financial records revealed that the U.S. bank which processed the sale of the          to

for approximately                  as frozen the transactions for possible sanction compliance / anti-

money laundering reasons.

         8.        Law enforcement is aware from public corporate registry information that .was

created around the time that it purchased the           . Statements on        website, and the large

cost associated with purchasing a petroleum tanker, leads law enforcement to believe this company

was created on behalf of third party companies for the express purpose of conducting this

transaction.

         9.        Registration information from        website on October 23, 2019 shows that the

contact information for .was        redacted using a privacy service, indicating an intent to hide the

ultimate beneficial owner of the company.

         10.       Subpoena returns from the company that registered           domain show that the

website was created on August 24, 2019 by an employee of

                                                              This date closely aligns to when


1 MS was developed in the 1990s as a maritime safety feature which exchanges vessel information
electronically with other nearby ships. The system is used by marine navigation officers and other
maritime authorities for collision avoidance, identification and vessel locational data. MS acts like
a transponder that transmits ship's location information (based on GPS) via a VHF radio.
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purchased the         . The website confirms that .              owns the            and claims that .       is

located in                        Law enforcement was unable to find any information corroborating

whether this company was registered in                           leading law enforcement to believe that

this company may not have been registered in either location.

        11.     Additionally, the sale appears to be designed to camouflage the ultimate

beneficiary, consistent with money laundering. For example, the .                 website indicates that the

company is cooperating with an Indian company named

                              which is listed as the manager of the                    A corporate registry

database revealed business records showing                        has a common director with             •
As described previously,            M    registered           domain.

        12.     •lists   its address as a P.O. Box in M,            according to its website. A company

named                                                                             s located at this same P.O.

Box inIMI A cached version of •                       website lists that it attends mining exhibits in both

        and M, which appears consistent with                  line of business.

        13.     Subpoena returns from Linkedln revealed that many of the M                         Linkedln

company profiles and employee profiles were accessed from El or listed a location as                     N
despite publicly claiming to be located in

        14.     Law enforcement also discovered a business listing for

                                                  which lists the.                 website and an address in

M, leading law enforcement to believe that M                    maintains an office in M.

        15.                                                               is a corporate entity that lists the

same P.O. Box in           as .      and M                 Law enforcement believes                          is

part of the same business group based in part on this shared address. A reliable confidential source



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revealed that          national                 reviously listed himself as the marketing manager of

                  , further confirming this company group's connection to M.

                                      TARGET ACCOUNTS

         16.                                ("Target Account 1") — On a separate business listing,

                lists email address Target Account 1 as its contact email address. Subpoena returns

for subscriber information show that the user of this account listed his country as .        and the

verified phone number had an           country code. The login activity for this account shows that

it was accessed from          and .   in November 2019.

         17.                             ("Target Account 2") — Subpoena returns for subscriber

information for Target Account 1 revealed Target Account 2 as the alternate email address.

         18.                                            ("Target Account 3") —

domain,                      used a privacy protection service to prevent third parties from learning

the operator of the domain. Subpoena returns from the privacy protection service for this domain

revealed that an individual used Target Account 3 when creating the .       Shipping domain.

         19.            -shipping.com ("Target Account 4") — Subscriber information for the .

shipping.com domain from the privacy protection service lists the payments made by the owner of

the domain. One such payments was for business email services, leading law enforcement to

believe that the owners of Mare using Target Account 4 for email services hosted by the privacy

protection service.

         20.                                                ("Target Account 5") — An individual

name 11           fists himself as the owner and chairman of           .    on LinkedIn. As noted

above,                is affiliated with.      Subpoena returns from Linkedln provided subscriber

information for this LinkedIn account, including that it was registered using Target Account 5.



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        21.                                    ("Target Account 6") — Subpoena returns from the

provider of Target Account 5 revealed that              listed Target Account 6 as his recovery email

account. Additionally, law enforcement is aware that the username of this email account alludes

to being used by the CEO of the

        22.                                 ("Target Account 7") — Law enforcement discovered a

Linkedln profile for the CEO of           M. Subpoena returns revealed that this Linkedln profile

used Target Account 7 to register this account.

        23.                                   ("Target Account 8") — An individual named

        lists himself as the CEO of                on Linkedln. This Linkedln user lists his location

as       ; however, the subpoena returns from Linkedln profile revealed that his account was

registered using an           IP Address. On his Linkedln page,                       also lists prior

experience and education in M. Subpoena returns revealed that                     used Target Account

8 to register this Linkedln account.

        24.                                ("Target Account 9") — Law enforcement discovered a

Linkedln profile for                   who lists himself as a crew manager at        M. Subpoena

returns revealed that                  used Target Account 9 to register this Linkedln account.

        25.                               ("Target Account 10") — Law enforcement discovered a

Linkedln profile far(              who lists himself as a Director at           M. Subpoena returns

revealed that               used Target Account 10 to register this Linkedln account.

        26.                                          ("Target Account 11") — Law enforcement

discovered a Linkedln profile for "          IN Navigation," which was associated with a director
of        II.    Subpoena returns revealed that this Linkedln profile used Target Account 11 to

register this account.



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       27.                                           ("Target Account 12") — Law enforcement

discovered an additional LinkedIn profile for                                  Subpoena returns revealed

that this LinkedIn profile used Target Account 12 to register this account. Target Account 12's

user name is_

       28.                                      ("Target Account 13") — Law enforcement

discovered a LinkedIn profile for                        indicates that he is a Tanker Broker at

Company 1. Subpoena returns revealed that■                          used Target Account 13 to register

this LinkedIn account. As described previously,               Company 1 participated in the sale of the

       to

       29.                                  ("Target Account 14") — Subpoena returns from the

U.S. company which provided insurance to the                    revealed that          Company 2 was

associated with the                  Company 2 is associated with                Company 1 based on a

shared address. Publicly available AIS shows that the                    travelled to ■     on multiple

occasions. Law enforcement is aware that the Chartering Department often charts the voyages of

tankers such as the         . A Linkedln profile for                              hows that he is in the

Chartering Department of          Company 2. Subpoena returns revealed that

used Target Account 14 to register this LinkedIn account.

        30.                               ("Target Account 15") — Law enforcement discovered

a Linkedln profile fo
                      i               i , who lists himself as a Managing Director at              •
and a partner at                          The             .    website lists

                as its contact information for the                             office. Subpoena returns

revealed that                 used Target Account 15 to register this Linkedln account.

        31.                                              ("Target Account 16") — As noted above, the



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              website lists           as its contact information for the                       office.

The               website lists Target Account 16 as being associated with          E.   The website

notes the contact person for Target Account 16 is

        32.                                 ("Target Account 17") — The                  website also

lists Target Account 17 as being associated with            M. The website notes the contact person

for Target Account 17 is                      The               website indicates that

                      is the marine superintendent for         M. Law enforcement is aware that a

marine superintendent is often involved with a company's fleet and its voyages.

        33.                                    ("Target Account 18") — Law enforcement

discovered a Linkedln profile foil                  who lists himself as the Technical Superintendent

at       M.       Subpoena returns revealed that                  used Target Account 18 to register

this Linkedln account.

        34.                                    ("Target Account 19") — Law enforcement

discovered a Linkedln profile for                       which shows employment at

As noted above                        is associated with               and        and has an

employee. Subpoena returns revealed that                       ksed Target Account 19 to register this
Linkedln account.

        35.                              ("Target Account 20") — Law enforcement discovered a

Linkedln profile foi                 vhich lists employment at                      Subpoena returns

revealed that                    ised Target Account 20 to register this Linkedln account.

        36.                                 ("Target Account 21") — Law enforcement discovered

a Linkedln profile for                                         which shows employment at

         . Subpoena returns revealed tha                                      lised Target Account 21
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to register this LinkedIn account.

        37.                                           ("Target Account 22") — The              m
website also lists Target Account 22 as being associated with           M, in addition to Target

Account 16 and Target Account 17. The           M website also lists                  as the contact

person for Target Account 22 (as noted above, he is also the contact person for Target Account 16).

        38.                                ("Target Account 23") - Law enforcement discovered

that Target Account 23 is the listed contact address on business directory listings for        •
and                 (which is noted above as the manager of the In.        The subscriber name of

this account is "      MI,
        Role That Metadata Will Serve In Advancing the Investigation

        39.     Based on prior investigations, law enforcement is aware that criminal co-

conspirators communicate frequently through private messages and email about their legitimate

and illegitimate businesses, as well as the transfer of proceeds from such businesses. Private

messages and email offer a uniquely valuable form for such communication, as they can be

accessed from any location. Many such persons also believe that such messages are difficult to

trace, which leads them to have inculpatory conversations.

        40.     Moreover, persons operating international procurement operations typically have

to communicate via email with persons funding their operations, due to the time differences

involved, as well as limited phone access in certain regions of the world. When transferring funds

to co-conspirators, electronic communications will normally occur to inform the other party that

the money has been sent, followed up by communications that the money has been received. Law

enforcement is also aware from prior investigations that subordinates in the management chain

must communicate to their superiors the status of their illegal tasks as well as receive new illegal



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tasks. Based on these facts, law enforcement believes that the subjects of the investigation are

communicating via email.

       41.     The header information of these communications can reveal the scope of the

contacts between the money launderers/export control violators and who the important co-

conspirators are.    Multiple individuals and companies associated with the targets of this

investigation have taken steps to obscure or anonymize their identities. Learning the header

information from associated email accounts is likely to reveal persons within this network,

including customers possibly in ■,       as well as further identify any other users of the email

account.

       42.     Because criminals who communicate via email fear detection, they typically

employ multiple fake identities, which is accomplished by creating numerous free email accounts.

Part of managing this vast number of accounts often leads to the linking of recovery accounts.

This allows a single user the ability to access as well as reset passwords for the multiple linked

accounts. Law enforcement is aware that the tracking and detection of linked accounts is one way

by which a person and/or co-conspirators can be identified. Moreover, the linking of a recovery

account can further demonstrate who has access and/or control of an account.

       43.     Learning the requested information will allow law enforcement to investigate these

newly identified persons, and in some instances surveil and interview them.               Identifying,

surveilling, and interviewing these persons will advance the investigation of the subjects and their

co-conspirators, by further revealing the scope of their activities, both legal and illegal.

                                     REQUEST FOR ORDER

       44.     The facts set forth above show that there are reasonable grounds to believe that the

records and other information described in Part II of Attachment A are relevant and material to an



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ongoing criminal investigation. Specifically, these items will help the United States to identify

and locate the individual(s) who are responsible for the criminal activity under investigation, and

to determine the nature and scope of that criminal activity. Accordingly, the United States requests

that PROVIDER be directed to produce all items described in Part II of Attachment A to the

proposed Order within ten days of receipt of the Order.

        45.    The United States further requests that the Order direct PROVIDER not to notify

any person, including the subscriber or customer of each account listed in Part I of Attachment A,

of the existence of the application of the United States or the Order for one year from the date of

the Court’s Order. See 18 U.S.C. § 2705(b). This Court has authority under 18 U.S.C. § 2705(b)

to issue “an order commanding a provider of electronic communications service or remote

computing service to whom a warrant, subpoena, or court order is directed, for such period as the

court deems appropriate, not to notify any other person of the existence of the warrant, subpoena,

or court order.” See 18 U.S.C. § 2705(b). 2

        46.    In this case, the proposed Order seeks information relevant to establishing the

illegal activity under investigation and identifying the individual(s) responsible. Accordingly,

disclosure may reveal the existence, scope, and direction of the United States’s ongoing and

confidential investigation.   Once alerted to this investigation, potential target(s) could be

immediately prompted to destroy or conceal incriminating evidence, alter their operational tactics



2
  The government relies on § 2705(b) to seek a preclusion-of-notice order because the government
is requesting only non-content information pursuant to § 2703(d), an action which is authorized
by § 2703(c). See 18 U.S.C. § 2703(c)(1)(B) (“governmental entity may require a provider of
electronic communication service or remote computing service to disclose a record or other
information pertaining to a subscriber to or customer of such service (not including the contents
of communications) only when [it] . . . obtains a court order for such disclosure under subsection
(d) of this section”). Under § 2703(c), the government has no obligation to notify the subscriber.
See 18 U.S.C. § 2703(c)(3) (“governmental entity receiving records or information under this
section is not required to provide notice to a subscriber or customer”).
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to avoid future detection, and otherwise take steps to undermine the investigation and avoid future

prosecution. In particular, given that they are known to use electronic communication and remote

computing services, the potential target(s) could quickly and easily destroy or encrypt digital

evidence relating to their criminal activity. Notification could also result in the target(s) avoiding

travel to the United States or other countries from which they may be extradited.

       47.     Therefore, based on the foregoing, there are reasonable grounds to believe that

notification of the existence of this Order would result in flight from prosecution, destruction of

or tampering with evidence, intimidation of potential witnesses, or other serious jeopardy to this

investigation. See 18 U.S.C. § 2705(b)(2), (3), and (5).

       48.     Given the complex nature of the criminal activity under investigation and likely

involvement of foreign-based coconspirators and evidence, and also given that the criminal scheme

may be ongoing, the United States anticipates that this confidential investigation will continue for

the next year or longer.

       49.     Accordingly, this Court should command PROVIDER not to notify any other

person (except attorneys for PROVIDER for the purpose ofreceiving legal advice) of the existence

of the proposed Order for a period of one year (commencing on the date of the proposed Order),

unless the period of nondisclosure is later modified by the Court. Should the court-ordered

nondisclosure under Section 2705(b) become no longer needed because of the closure of the

investigation or arrest of the account holder, the United States will make best efforts to notify the

Court promptly and seek appropriate relief.

       50.     In this matter, the         States also requests that the instant Application and the

Order be filed under seal. The Court has the inherent power to seal court filings when appropriate,

including the proposed Order. United States v. Hubbard, 650 F.2d 293, 315-16 (D.C. Cir. 1980)



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(citing Nixon v. Warner Commn’ns, Inc., 435 U.S. 589, 598 (1978)). More particularly, the Court

may seal the Application and Order to prevent serious jeopardy to an ongoing criminal

investigation when such jeopardy creates a compelling governmental interest in confidentiality.

See Washington Post v. Robinson, 935 F.2d 282, 287-89 (D.C. Cir. 1991). For the reasons stated

above, the United States has a compelling interest in confidentiality to justify sealing the

Application and Order. See id.

                                           Respectfully submitted,

                                           JESSIE K. LIU
                                           United States Attorney
                                           DC Bar No. 472845


                                           ___/s/_Zia Faruqui__________________
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR FOUR EMAIL                       SC No. 20-89
 ACCOUNT(S) SERVICED BY
 MICROSOFT FOR INVESTIGATION OF                     Filed Under Seal
 VIOLATION OF 18 U.S.C. 1956

                                              ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Microsoft Corporation (“PROVIDER”), an

electronic communication and/or remote computing service provider located in Redmond,

Washington, to disclose the records and other information described in Attachment A to this Order.

The Court finds that the United States has offered specific and articulable facts showing that there

are reasonable grounds to believe that the records or other information sought are relevant and

material to an ongoing criminal investigation. Furthermore, the Court determines that there is

reason to believe that notification of the existence of this Order will seriously jeopardize the

ongoing investigation, including by giving targets an opportunity to flee or continue flight from

prosecution, and destroy or tamper with evidence. See 18 U.S.C. § 2705(b)(2), (3), and (5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that PROVIDER shall,

within ten days of receipt of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 2705(b), that PROVIDER shall not

disclose the existence of the application of the United States or this Order of the Court to any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) for a period of

one year (commencing on the date of this Order), unless the period of nondisclosure is later

modified by the Court.
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        IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court, except that the United States may disclose the existence and/or contents of

the Application and this Order to appropriate law enforcement authorities.



Date:                                               ___________________________________
                                                    UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information for any Microsoft Corporation

("PROVIDER") account(s) associated with the following identifier(s):




and any preserved data and/or preservation numbers associated therewith.

II. Records and other information to be disclosed

   A. Information about the customer or subscriber of the Account(s)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

"Account(s)") constituting information about the customer or subscriber of the Account(s):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);

       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol ("IP") addresses) associated with those sessions;

       5. Length of service (including start date) and types of service utilized;

       6. Telephone or instrument numbers (including MAC addresses);

       7. Other subscriber numbers or identities (including the registration IP address), including
          any current or past accounts linked to the Account(s) by telephone number, recovery
          or alternate e-mail address, IP address, or other unique device or user identifier; and
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       8. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.


   B. All records and other information relating to the Account(s) (except the contents of
      communications)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for the Account(s) for the time period from January 1, 2016 to the present,

constituting all records and other information relating to the Account(s) (except the contents of

communications), including:

       1. Records of user activity for each connection made to or from the Account(s), including
          log files; messaging logs; the date, time, length, and method of connections; data
          transfer volume; user names; and source and destination Internet Protocol addresses;

       2. Information about each electronic communication sent or received by the Account(s),
          including the date and time of the communication, the method of communication, and
          the source and destination of the communication (such as source and destination email
          addresses, IP addresses, and telephone numbers), and any other associated header or
          routing information; and

       3. Identification of any PROVIDER account(s) that are linked to the Account(s) by
          cookies, including all PROVIDER user IDs that logged into PROVIDER’s services by
          the same machine as the Account(s).




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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA

 IN RE APPLICATION OF USA FOR
 2703(d) ORDER FOR FOUR EMAIL                       SC No. 20-89
 ACCOUNT(S) SERVICED BY
 MICROSOFT FOR INVESTIGATION OF                     Filed Under Seal
 VIOLATION OF 18 U.S.C. 1956

                                              ORDER

       The United States has submitted an Application pursuant to 18 U.S.C. § 2703(d),

requesting that the Court issue an Order requiring Microsoft Corporation (“PROVIDER”), an

electronic communication and/or remote computing service provider located in Redmond,

Washington, to disclose the records and other information described in Attachment A to this Order.

The Court finds that the United States has offered specific and articulable facts showing that there

are reasonable grounds to believe that the records or other information sought are relevant and

material to an ongoing criminal investigation. Furthermore, the Court determines that there is

reason to believe that notification of the existence of this Order will seriously jeopardize the

ongoing investigation, including by giving targets an opportunity to flee or continue flight from

prosecution, and destroy or tamper with evidence. See 18 U.S.C. § 2705(b)(2), (3), and (5).

       IT IS THEREFORE ORDERED, pursuant to 18 U.S.C. § 2703(d), that PROVIDER shall,

within ten days of receipt of this Order, disclose to the United States the records and other

information described in Attachment A to this Order.

       IT IS FURTHER ORDERED, pursuant to 18 U.S.C. § 2705(b), that PROVIDER shall not

disclose the existence of the application of the United States or this Order of the Court to any other

person (except attorneys for PROVIDER for the purpose of receiving legal advice) for a period of

one year (commencing on the date of this Order), unless the period of nondisclosure is later

modified by the Court.
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        IT IS FURTHER ORDERED that the Application and this Order are sealed until otherwise

ordered by the Court, except that the United States may disclose the existence and/or contents of

the Application and this Order to appropriate law enforcement authorities.

                                                    Deborah A. Digitally         signed by Deborah
                                                                         A. Robinson

Date:                                               Robinson             Date: 2020.01.23 14:41:30
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                                                    UNITED STATES MAGISTRATE JUDGE




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                                      ATTACHMENT A

I. The Account(s)

       The Order applies to certain records and other information for any Microsoft Corporation

("PROVIDER") account(s) associated with the following identifier(s):




and any preserved data and/or preservation numbers associated therewith.

II. Records and other information to be disclosed

   A. Information about the customer or subscriber of the Account(s)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for each account or identifier listed in Part I of this Attachment (the

"Account(s)") constituting information about the customer or subscriber of the Account(s):

       1. Names (including subscriber names, user names, and screen names);

       2. Addresses (including mailing addresses, residential addresses, business addresses, and
          email addresses);

       3. Local and long distance telephone connection records;

       4. Records of session times and durations, and the temporarily assigned network
          addresses (such as Internet Protocol ("IP") addresses) associated with those sessions;

       5. Length of service (including start date) and types of service utilized;

       6. Telephone or instrument numbers (including MAC addresses);

       7. Other subscriber numbers or identities (including the registration IP address), including
          any current or past accounts linked to the Account(s) by telephone number, recovery
          or alternate e-mail address, IP address, or other unique device or user identifier; and
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       8. Means and source of payment for such service (including any credit card or bank
          account number) and billing records.


   B. All records and other information relating to the Account(s) (except the contents of
      communications)

       PROVIDER is required to disclose to the United States the following records and other

information, if available, for the Account(s) for the time period from January 1, 2016 to the present,

constituting all records and other information relating to the Account(s) (except the contents of

communications), including:

       1. Records of user activity for each connection made to or from the Account(s), including
          log files; messaging logs; the date, time, length, and method of connections; data
          transfer volume; user names; and source and destination Internet Protocol addresses;

       2. Information about each electronic communication sent or received by the Account(s),
          including the date and time of the communication, the method of communication, and
          the source and destination of the communication (such as source and destination email
          addresses, IP addresses, and telephone numbers), and any other associated header or
          routing information; and

       3. Identification of any PROVIDER account(s) that are linked to the Account(s) by
          cookies, including all PROVIDER user IDs that logged into PROVIDER’s services by
          the same machine as the Account(s).




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